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                 THE UNITED STATES DISTRICT COURT

     CENTRAL DISTRICT OF CALIFORNIA- SOUTHERN DIVISION



 MARIANO BENITEZ, individually and on ) Case No.: 8:19-cv-00098-JLS-DFM
 behalf of others similarly situated, )
                                      )
                      Plaintiff,      )
      vs.                             )
                                      )
 POWERLINE FUNDING LLC, a New         )
 York limited liability company,      )
                                      )
                   Defendant          )
                                      )
                                      )
                                      )
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                                          ORDER
           On stipulation of parties, IT IS HEREBY ORDERED that POWERLINE
 FUNDING LLC shall have up to and including March 7, 2019 to answer or
 otherwise respond to the Complaint.
           The parties also stipulated to extend the time in which to file a Motion for
 class certification. That part of the stipulation is unnecessary. The parties are
 directed to review this Court’s Procedures web page, available at
 http://www.cacd.uscourts.gov/honorable-josephine-l-staton. Specifically, the
 parties are directed to Class Action Scheduling Issues, Procedure No. 9, which
 states:
                 Plaintiffs in a putative class action need not comply with
                 Local Rule 23-3, which requires the filing of a motion for
                 class certification within ninety days of the filing of a
                 class action complaint. Instead, the parties are directed to
                 discuss scheduling issues related to class certification in
                 their Joint Rule 26(f) Report. It is strongly suggested that
                 counsel agree to a class certification briefing schedule.
 Dated: February 19, 2019



                                            Hon. Josephine L. Staton
                                            United States District Judge
